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FILED

JUL 09 2019

UNITED STATES DISTRICT COURT FOR THE us. pistrict COURT-WVND
NORTHERN DISTRICT OF WEST VIRGINIA = CLARKSBURG, Wv 26301

 

 

UNITED STATES OF AMERICA, .
Criminal No. 1.14 er 33  Tsic
v.
Violations:
ROBERT GIVEN, JR., 18 U.S.C. § 922(0)(1)
18 U.S.C. § 924(a)(2)
Defendant. 26 U.S.C. § 5822
26 U.S.C. § 5841
26 U.S.C. § 5861(d)
26 U.S.C. § 5871
INDICTMENT
The Grand Jury charges:
COUNT ONE

(Possession of an Unlawful Firearm)

On or about February 18, 2019, in Harrison County, in the Northern District of West
Virginia, defendant ROBERT GIVEN, JR., did knowingly possess a firearm made in
violation of Title 26, United States Code, Section 5822, that is a Smith and Wesson rifle,
model M&P 15, .223 caliber, serial number SP71098, having a barrel length of less than
16 inches, not registered to him in the National Firearms Registration and Transfer

Record, in violation of Title 26, United States Code, Sections 5841, 5861(d) and 5871.
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COUNT TWO

(Possession of Machinegun)

On or about February 18, 2019, in Harrison County, in the Northern District of West
Virginia, defendant ROBERT GIVEN, JR., knowingly possessed a Yugoslavian, model
M64A, 7.62x39mm caliber firearm, bearing serial number D-32110, knowing said firearm
to be a machinegun, that is able to shoot automatically more than one shot without
reloading, by a single function of the trigger and incorporates the receiver of a machinegun;

in violation of Title 18, United States Code, Sections 922(0)(1) and 924(a)(2).
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FORFEITURE ALLEGATION
(Gun Control Act)
Pursuant to Title 28, United States Code Section 2461(c), and Title 18, United States
Code Section 924(d)(1), the government will seek the forfeiture of any firearm and ammunition
involved in or used in any knowing violation of Title 18, United States Code, Section 922, and
Title 26, United States Code, Section 5861(d), including a Smith and Wesson rifle, model
M&P, .223 caliber, serial number SP71098, and a Yugoslavian, model M64A, 7.62x39mm

caliber firearm bearing serial number D-32110.

A true bill,

/s/
Grand Jury Foreperson

/s/
WILLIAM J. POWELL,
United States Attorney

Traci M. Cook
Assistant United States Attorney
